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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                GREENVILLE DIVISION

OSCAR BROOKS                                                                          PLAINTIFF

V.                                                                          CASE NO. 4:07CV62

INGRAM BARGE COMPANY
JANTRAN, INC.                                                                      DEFENDANTS


                                             ORDER

       This cause comes before the court on the motion [82] of the defendant, Ingram Barge

Company, to strike the plaintiff’s supplemental memorandum to the Daubert hearing in the

instant matter.

       The court finds the motion well taken. It bases this decision on three factors: (1) the

memorandum is untimely; (2) it has little probative value; and, (3) it is outside the purpose of a

supplemental brief.

       This court held a Daubert hearing on October 30, 2008. At that hearing, the court

allowed the parties time to file additional memoranda. The court made clear these briefs had to

be filed no later than November 10, 2008. This date was agreed upon by all parties. The court

issued an order on October 31, 2008 confirming the timeframe in which the memoranda were to

be filed. That order also informed the parties that if they wished to respond to any of the

supplemental briefs they had to request permission to do so no later than November 12, 2008.

       The plaintiff in this matter did not file a memorandum within the allotted time. Nor did

the plaintiff request permission from this court to file a memorandum out of time. Instead the

plaintiff did not file his memorandum until November 14, 2008. As such the court finds the

plaintiff’s supplemental brief untimely.

       In making this decision the court has reviewed the contents of the memorandum filed. In
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reviewing those contents, the court finds the information therein less than helpful to its decision.

In this document Dr. Goldsmith, the plaintiff’s expert, for the first time develops numerical data

from which to base his opinion. The court believes Goldsmith is working the scientific method

backwards. He came to the conclusion he wished to state in this court and then kept adding new

information in an attempt to support that conclusion to the point this court would accept it. The

court finds this is not the same level of intellectual inquiry Goldsmith would use in developing

studies or opinions in his field. This method offers no assurance of reliability, but instead allows

an expert to mold his supporting evidence in order to testify to any conclusion he wishes. As

such the new information contained in the disputed document has little probative value.

       Finally, the contents of the memorandum are outside the general purpose of supplemental

briefs. A supplemental memorandum is normally used to point the court to new issues of law

raised at a Daubert hearing or to point the court towards a better understanding of the facts

presented. Here instead the plaintiff attempts to introduce new evidence developed after the fact

to support an expert opinion. It is obvious that the expert in question did not actually rely on this

information in coming to his conclusion. Further it is outside the scope of the information that

was available to the parties and the court at the time of the Daubert hearing.

       These three factors all counsel against allowing the plaintiff’s supplemental memorandum

to stand. As such the court will strike it from consideration. The defendant’s motion to strike is

GRANTED.

       This the 21st day of November, 2008.


                                              /s/ MICHAEL P. MILLS
                                              CHIEF JUDGE
                                              UNITED STATES DISTRICT COURT
                                              NORTHERN DISTRICT OF MISSISSIPPI
